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  1   LAW OFFICES OF LIN MEYER, INC.
      LIN M. MEYER [State Bar No. 188677]
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      Attorneys for Plaintiff Anzhey Barantsevich
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                               UNITED STATES DISTRICT COURT
  9
                             CENTRAL DISTRICT OF CALIFORNIA
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 11
      ANZHEY BARANTSEVICH, an                           CASE NO. 12 CV 08993 MMM/AJWx
 12   individual,                                       _______________
                                                        Assigned to: Judge Margaret M.
 13            Plaintiff,                               Morrow
 14   vs.                                               SUPPLEMENTAL DECLARATION
                                                        OF LIN M. MEYER IN SUPPORT
 15
      VTB BANK, a Russian corporation, VTB              OF PLAINTIFF’S SURREPLY TO
                                                        DEFENDANT VTB BANK’S
 16   CAPITAL AM formerly known as VTB                  MOTION TO DISMISS
      BANK ASSET MANAGEMENT, a                          PLAINTIFF’S COMPLAINT;
 17
      Russian corporation, VTB CAPITAL, a               MEMORANDUM OF POINTS AND
                                                        AUTHORITIES
 18   New York corporation, and BEAU
      CAMERON, an individual,                           Date:      April 1, 2013
 19                                                     Time:      10:00 a.m.
                                                        Courtroom: 780 [Roybal]
 20            Defendant(s).
 21

 22                 SUPPELMENTAL DECLARATION OF LIN M. MEYER
 23            I, Lin M. Meyer, supplementally declare as follows:
 24            1.     I am an attorney at law, duly licensed to practice before this Court and
 25   am counsel of record for Plaintiff Anzhey Barantsevich. I have personal knowledge
 26   of the facts attested to in this Declaration and if called upon to testify thereto, I could
 27   and would do so.
 28            2.     This Supplemental Declaration is filed in opposition to Defendant VTB
                                                    1
            SUPPLEMENTAL DECLARATION OF LIN M. MEYER IN SUPPORT OF PLAINTIFF’S SURREPLY TO
                   DEFENDANT VTB BANK’S MOTION TO DISMISS PLAINTIFF’S COMPLAINT
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  1   Bank’s Motion to Dismiss Plaintiff’s First Amended Complaint (Document No. 12)
  2   (“FAC”).
  3         3.     Defendant VTB Bank contends in the arbitration of a dispute between
  4   Beau Cameron, Beau LLC and Anzhey Barantsevich that the Arbitrator, Judge
  5   Penkower, found that Plaintiff “stole” one million dollars and was not credible.
  6   Attached hereto as Exhibit A is Judge Penkower’s ruling reflecting:
  7                a.     He did not make a finding of theft; rather, he merely recounted
  8   Beau Cameron’s claims and found only that “Barantsevich breached his fiduciary
  9   duty to use reasonable care” in accounting. Ex. A, pp. 17-19;
 10                b.     He found Barantsevich’s claims about the freeze out, if true to be
 11   compelling, but stated that he could not consider them because Anzhey Barantsevich
 12   had not filed a claim for affirmative relief in Arbitration. Ex. A, pp. 27- 28 and 32;
 13                c.     He found Baransevich’s claim for setoffs of amounts Beau
 14   Cameron improperly charged to Beau Cameron, Inc. and Beau Labs had to be tried
 15   in Superior Court. Ex. A, p. 32;
 16                d.     He found Beau Cameron was entirely not credible on his testimony
 17   concerning and that Plaintiff was entitled to a one million dollar finder’s fee award
 18   against Beau Cameron. Ex. A, p. 24.
 19                e.     He did not find in favor of Beau Cameron on issues of credibility
 20   in general. Ex. A, p. 10.
 21                f.     The Arbitrator found VTB Bank was a party to the joint venture.
 22   Ex. A, pp. 12-13.
 23         4.     After briefing and hearing the issue three times, on September 11, 2012,
 24   Superior Court Judge Richard Stone, in the Los Angeles Superior Court case of
 25   Cameron vs. Barantsevich, Case No. SC 107179 pending in Beverly Hills, ordered a
 26   stay of the judgment entered on Judge Penkower’s award pursuant to CCP Section
 27   918.5. A true copy of the Order is attached hereto as Exhibit B. CCP Section 918.5
 28   only permits the Judge discretion to stay the judgment after considering:
                                                 2
         SUPPLEMENTAL DECLARATION OF LIN M. MEYER IN SUPPORT OF PLAINTIFF’S SURREPLY TO
                DEFENDANT VTB BANK’S MOTION TO DISMISS PLAINTIFF’S COMPLAINT
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  1                “(1) The likelihood of the judgment debtor prevailing in the other
  2                action;
  3                (2)   The amount of the judgment of the judgment creditor as
  4                compared to the amount of the probable recovery of the judgment
  5                debtor in the action on the disputed claim;
  6                (3)   The financial ability of the judgment creditor to satisfy the
  7                judgment if a judgment is rendered against the judgment creditor in the
  8                action on the disputed claim.”
  9         5.     After Judge Penkower issued his findings, Beau Cameron’s attorney
 10   wrote an email to Judge Penkower specifically asking that he change his award to
 11   reference that Barantsevich “stole money.” Judge Penkower wrote back that he refused
 12   to change his award to reflect that and concluded that issue was not even tried.
 13         6.     A true and correct copy of the deposition testimony of (hostile to Plaintiff
 14   witness) Alexandra Johnson regarding the funding of legal expenses for the Los Angeles
 15   Superior Court litigation is attached here to as Exhibit C.
 16         I declare under penalty of perjury under the laws of the United States of
 17   America that the foregoing is true and correct.
 18         Executed on the 19th day of March, 2013, at Tarzana, California.
 19

 20                                                  /s/ Lin M. Meyer
                                                     LIN M. MEYER
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         SUPPLEMENTAL DECLARATION OF LIN M. MEYER IN SUPPORT OF PLAINTIFF’S SURREPLY TO
                DEFENDANT VTB BANK’S MOTION TO DISMISS PLAINTIFF’S COMPLAINT
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        SUPPLEMENTAL DECLARATION OF LIN M. MEYER IN SUPPORT OF PLAINTIFF’S SURREPLY TO
               DEFENDANT VTB BANK’S MOTION TO DISMISS PLAINTIFF’S COMPLAINT
